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                   12

                   13                               UNITED STATES DISTRICT COURT
                   14                             NORTHERN DISTRICT OF CALIFORNIA
                   15                                       OAKLAND DIVISION
                   16

                   17   In re Google RTB Consumer Privacy             Master File No. 4:21-cv-02155-YGR-VKD
                        Litigation,
                   18                                                 GOOGLE’S RESPONSE TO PLAINTIFFS’
                                                                      ADMINISTRATIVE MOTION TO CONSIDER
                   19                                                 WHETHER ANOTHER PARTY’S MATERIALS
                        This Document Relates to: all actions,        SHOULD BE SEALED (ECF NO. 623)
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ATTORNEYS AT LAW                                                                 GOOGLE’S RESPONSE TO PLAINTIFFS’
WASHINGTON, DC                                                                            ADMINISTRATIVE MOTION
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                    1   I.     INTRODUCTION
                    2          Pursuant to Northern District of California Civil Local Rules 7-11 and 79-5(f), Defendant

                    3   Google LLC (“Google”) respectfully submits this Response to Plaintiffs’ Administrative Motion

                    4   to Consider Whether Another Party’s Materials Should be Sealed (ECF No. 623) in connection

                    5   with Plaintiffs’ Daubert Motion to exclude the expert testimony of Google’s damages expert Bruce

                    6   Deal (“Plaintiffs’ Daubert Motion”) and the accompanying Exhibits.

                    7          As set forth below and in the accompanying Declaration of Whitty Somvichian

                    8   (“Somvichian Sealing Declaration”), the cited portions of these documents contain highly sensitive,

                    9   confidential, and proprietary information that Google designated as “Confidential” and/or “Highly

                   10   Confidential—Attorneys’ Eyes Only” pursuant to the terms of the parties’ Stipulated Protective

                   11   Order, which the Court entered on June 3, 2021 (the “Protective Order”) (ECF No. 59).

                   12   Accordingly, Google hereby requests that the Court enter an order sealing the information identified

                   13   in the table below, as reflected in the attached Proposed Order:

                   14                                                                                 Party Claiming
                                     Document                         Portions to Seal
                                                                                                      Confidentiality
                   15
                         Plaintiffs’ Daubert Motion to Portions highlighted at page(s): Google
                   16    exclude the expert testimony of 3-5, 10-11, 13-15, 17-18
                         Bruce Deal
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                         Exhibit 1 to Reply Declaration Portions highlighted at page(s): Google
                   18    Lesley E. Weaver In Support of 101:18, 105:13, 277:21-22
                         Plaintiffs’ Daubert Motion to
                   19    exclude the expert testimony of
                         Bruce Deal (Deal Deposition
                   20
                         Excerpts)
                   21    Exhibit 2 to Reply Declaration Portions highlighted at page(s): Google
                         Lesley E. Weaver In Support of 62:6-23
                   22
                         Plaintiffs’ Daubert Motion to
                   23    exclude the expert testimony of
                         Bruce Deal (Levitte Deposition
                   24    Excerpts)
                   25    Exhibit 4 to Reply Declaration Entire Document                            Google
                         Lesley E. Weaver In Support of
                   26    Plaintiffs’ Daubert Motion to
                         exclude the expert testimony of
                   27    Bruce Deal (Vakharia Deposition
                         Exhibit 8)
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                    1   II.    LEGAL STANDARD
                    2          A party seeking to seal material must “establish[] that the document, or portions thereof,
                    3   are privileged, protectable as a trade secret or otherwise entitled to protection under the law” (i.e.,
                    4   that the information is “sealable”). Civ. L.R. 79-5(b). Further, the sealing request must also “be
                    5   narrowly tailored to seek sealing only of sealable material.” Id.
                    6          Because courts consider class certification motions to be dispositive, courts apply a
                    7   “compelling reasons” test for determining whether a party is entitled to file under seal documents
                    8   related to a motion to exclude expert testimony filed in support of class certification briefing.
                    9   Hadley v. Kellogg Sales Co., No. 16-cv-04955, 2018 WL 7814785, at *2 (N.D. Cal. Sept. 5, 2018);
                   10   McMorrow v. Mondelez Int’l, Inc., No. 17-cv-2327, 2021 WL 488337, at *2 (S.D. Cal. Feb. 10,
                   11   2021).Sealing is appropriate under the compelling reasons standard where, absent sealing, “court
                   12   files [could] become a vehicle for improper purposes, such as the use of records to . . . release trade
                   13   secrets.” In re Elec. Arts, Inc., 298 F. App’x 568, 569–70 (9th Cir. 2008) (internal quotation and
                   14   citation omitted). For purposes of sealing, a “trade secret may consist of any formula, pattern,
                   15   device or compilation of information which is used in one’s business, and which gives him an
                   16   opportunity to obtain an advantage over competitors who do not know or use it.” Id. (quoting
                   17   Restatement (First) of Torts § 757, cmt. b (1939)). Other compelling reasons to seal “include when
                   18   a court record might be used . . . ‘as sources of business information that might harm a litigant’s
                   19   competitive standing.’” Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1096–97 (9th
                   20   Cir. 2016) (quoting Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598–99 (1978)).
                   21   III.   COMPELLING REASONS EXIST TO SEAL PORTIONS OF PLAINTIFFS’ DAUBERT MOTION
                               AND SUPPORTING EXHIBITS.
                   22
                               Google asks this Court to seal portions of Plaintiffs’ Daubert Motion and certain
                   23
                        accompanying Exhibits which contain content derived from Google’s highly sensitive,
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                        confidential, and proprietary information. These portions reflect (1) Google’s business strategy,
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                        analysis, and revenue data regarding Google Real-Time Bidding (“Google RTB”); (2) Google’s
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                        internal policies and business strategy related to its advertising products more generally; (3) and an
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                        employee’s personal information. As explained below, such information is vital to Google’s
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                    1   commercial success, and is the sort of “sensitive, non-public, confidential, and proprietary business
                    2   information” that courts routinely seal under the compelling reasons standard. Adtrader, Inc. v.
                    3   Google LLC, No. 17-cv-07082, 2020 WL 6391210, at *2 (N.D. Cal. Mar. 24, 2020). Google’s
                    4   sealing requests are also “narrowly tailored to seal only the sealable material” in order to balance
                    5   the public right of access. Civ. L.R. 79-5(c).
                    6          First, certain portions of Plaintiffs’ Daubert Motion and supporting Exhibits reflect highly
                    7   sensitive and confidential information about Google’s business strategy and analysis regarding
                    8   Google RTB, including discussion about product strategy, revenue metrics, and decision-making.
                    9   (Somvichian Sealing Decl. ¶ 5.) This type of highly confidential business information is routinely
                   10   sealed by courts in this district. See Rodman v. Safeway Inc., No. 11-cv-03003-JST, 2014 WL
                   11   12787874, at *2 (N.D. Cal. Aug. 22, 2014) (sealing “internal, nonpublic information discussing
                   12   [the defendant’s] pricing strategy, business decisionmaking [sic], and financial records, which
                   13   would expose [the defendant] to competitive harm if disclosed”); Unlockd Media, Inc. Liquidation
                   14   Tr. v. Google LLC, No. 21-cv-07250-HSG, 2022 WL 4624985, at *2 (N.D. Cal. Sept. 30, 2022)
                   15   (sealing information related to the company’s business model); Kumandan v. Google LLC, No. 19-
                   16   CV-04286-BLF, 2022 WL 17971644, at *1 (N.D. Cal. Oct. 17, 2022) (sealing financial information
                   17   concerning Google’s business opportunities and risks, and profits and losses). Disclosure of this
                   18   information would cause irreparable harm to Google by providing competitors and business
                   19   partners with insight into Google’s strategic business decisions and policies and priorities related
                   20   to Google RTB, as well as highly confidential financial information related to Google’s advertising
                   21   systems. (Somvichian Sealing Decl. ¶ 7.) Furthermore, such disclosure would reveal to competitors
                   22   and the public information about the structure and operation of Google’s internal systems and
                   23   advertising infrastructure as well as capabilities and design of Google’s advertising systems used
                   24   to handle user data. Id. As a result, Google’s competitive standing could be jeopardized if
                   25   competitors and business partners make changes to their business practices in response to this
                   26   information. Given these risks, Google has sought to seal similar information supporting Google’s
                   27   damages analysis in briefing on class certification. See e.g. In re Google RTB Consumer Privacy
                   28   Litig., No. 21-cv-02155-YGR, ECF No. 583-2.
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                    1           Second, certain portions of Plaintiffs’ Daubert Motion reveal highly sensitive and
                    2   confidential information about Google’s internal policies and business strategy related to its
                    3   advertising products more generally, including discussions about data privacy. (Id. ¶ 5.) Courts
                    4   have found that this type of information warrants sealing as well. Free Range Content, Inc. v.
                    5   Google Inc., No. 14-cv-02329, 2017 WL 10505263, at *2 (N.D. Cal. Mar. 14, 2017) (sealing
                    6   discussions about “strategy, policy, and practices related to AdSense”); Cowan v. GE Cap. Retail
                    7   Bank, No. 13-cv-03935, 2015 WL 1324848, at *3 (N.D. Cal. Mar. 24, 2015) (sealing documents
                    8   describing “internal procedures for addressing cardholder fraud notifications, as well as risk
                    9   management and legal compliance in investigating fraud”). Disclosure of this information, like
                   10   disclosure of Google’s financial and RTB-related strategy information, would cause irreparable
                   11   competitive harm by revealing to its competitors sensitive details about Google’s operations,
                   12   strategies, capabilities, and priorities that could cause these actors to alter their practices in relation
                   13   to competing products. (Somvichian Sealing Decl. ¶ 8). Similarly, Google has moved to seal similar
                   14   information in prior filings related to class certification.
                   15           Lastly, Google seeks to seal certain portions of Exhibits in support of Plaintiffs’ Daubert
                   16   Motion which contain confidential contact information for a current Google employee who is not
                   17   a party to this litigation. Courts, including for this litigation, regularly seal this information to
                   18   protect employees’ confidentiality to prevent unwanted harassment. See, e.g., Klein v. Meta
                   19   Platforms, Inc., 2022 U.S. Dist. LEXIS 44076, at *12 (N.D. Cal. Mar. 11, 2022); ECF No. 425
                   20   (N.D. Cal. Feb. 6, 2023).
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                    1   IV.    CONCLUSION
                    2          For the foregoing reasons, Google respectfully requests the Court seal the cited portions of

                    3   Plaintiffs’ Daubert Motion and supporting Exhibits.

                    4

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                    6   Dated: December 20, 2023                          COOLEY LLP

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                    8
                                                                          By: /s/ Whitty Somvichian
                    9                                                         Whitty Somvichian

                   10                                                     Attorney for Defendant
                                                                          GOOGLE LLC
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